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 4   Telephone: (916) 554-2748
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 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   Cr. No. S-08-376 EJG
12                                      )
                       Plaintiff,       )   STIPULATION AND PROTECTIVE ORDER
13                                      )   RE: DISSEMINATION OF DISCOVERY
                  v.                    )   DOCUMENTS CONTAINING PERSONALLY
14                                      )   IDENTIFYING INFORMATION
     GARRET GRIFFITH GILILLAND          )
15   III,                               )
     NICOLE MAGPUSAO,                   )
16                     Defendants.
17
18        IT IS HEREBY STIPULATED AND AGREED among the parties and their

19   respective counsel, Russell L. Carlberg, Assistant U.S. Attorney,

20   representing plaintiff United States of America, and Scott Tedmon,

21   Esq., representing defendant Garret Griffith Gililland III, that the

22   documents provided as discovery in this case to defense counsel are

23   subject to a Protective Order.     Defendant is charged with mail fraud

24   and false statements to lending institutions in connection with

25   mortgages.    The parties agree that discovery in this case contains

26   “Protected Information,” which is defined here as including victim

27   and witness social security numbers, driver license numbers, dates

28   of birth, addresses, telephone numbers, and email addresses.          This

                                            1
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 1   Protective Order extends to all documents provided in this case,
 2   including those concerning conduct not directly charged in the
 3   indictment.
 4        By signing this Stipulation and Protective Order, defense
 5   counsel agrees not to share any documents that contain Protected
 6   Information with anyone other than defense counsel and his
 7   designated defense investigators and support staff.         Defense counsel
 8
     may permit the defendant to view unredacted documents in the
 9
     presence of his attorney, defense investigators and support staff.
10
     The parties agree that defense counsel, defense investigators and
11
     support staff shall not allow the defendant to copy Protected
12
     Information contained in the discovery.       The parties agree that
13
     defense counsel, defense investigators, and support staff may
14
15   provide the defendant with copies of documents from which Protected

16   Information has been redacted.

17      In the event that the defendant substitutes counsel, undersigned

18   defense counsel agrees to withhold documents containing Protected
19   Information from new counsel unless and until substituted counsel
20   agrees also to be bound by this order.
21   DATE: November 4, 2009           /s/ Scott Tedmon*
22                                   Scott Tedmon
                                     Attorney for GARRET G. GILILLAND III
23
24   DATE: November 4, 2009          LAWRENCE G. BROWN
                                     United States Attorney
25
26
                               By:    /s/ Russell L. Carlberg
27                                   RUSSELL L. CARLBERG
                                     Assistant U.S. Attorney
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     _______________________
     * By permission.

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 1                               [PROPOSED] ORDER
 2
        For good cause shown, the stipulation of counsel in
 3
 4   criminal case no. S-08-376 EJG concerning Protected Information is

 5   approved and
 6      IT IS SO ORDERED:
 7
     DATED: November 5, 2009        /s/ Edward J. Garcia
 8                                  Hon. Edward J. Garcia
                                    United States District Judge
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